
On Application for Rehearing
En Banc.
PER CURIAM.
The opinion in this court was rendered on July 5, 1962 and deposited in the United States mail the same day.
A return receipt shows that it was received by counsel for plaintiff-appellant on the following day, July 6, 1962. An application for rehearing by the plaintiff-appellant was mailed from Lafayette, Louisiana on July 19, 1962 and was received by and filed in this court on July 20, 1962.
*426Applications for rehearing must be filed on or before the fourteenth calendar day after, but not including, the date of deposit in the United States mail. Rule XI, Section 1, Uniform Rules of the Courts of Appeal (1961), 8 LSA-R.S. See: Interstate Oil Pipe Line Company v. Friedman, La.App. 3 Cir., 137 So.2d 700; Genovese v. Abernathy, La.App. 3 Cir., 135 So.2d 802; American Bank &amp; Trust Company v. Phillips, La.App. 3 Cir., 130 So.2d 753; Harper v. Borden Company, La.App. 3 Cir., 129 So.2d 330; Bailey v. Haymon, La.App. 3 Cir., 129 So.2d 203. Under the Uniform Rules, as now permitted by Art. VII, Section 24, LSA-Constitution, the delay for filing the Application for rehearing commences on the idate of mailing by the court and not of receipt by counsel. See: Lewis v. Bell, La.App. 3 Cir., 137 So.2d 706; Robertson v. Great American Indemnity Company, La.App. 3 Cir., 136 So.2d 550; “Proceedings in appellate courts”, 35 Tulane Law Review 585 (1961). For purposes of considering the timeliness of the application for rehearing, however, the date of filing is the date that such applications are physically delivered into actual custody of this court, not the date of mailing. Guarisco Construction Company v. Talley, La.App. 3 Cir., 126 So.2d 793; McGee v. Southern Farm Bureau Cas. Ins. Co., La.App. 3 Cir., 125 So.2d 787, certiorari denied.
Our opinion was delivered by deposit in the mail on July 5, 1962, and the fourteenth calendar day thereafter was July 19, 1962. Thus, the application for rehearing was required to be filed in this court no later than July 19, 1962; so that its filing on July 20, 1962, one day later, is not timely.
For the foregoing reasons, the instant application for rehearing cannot be considered by this court.
Application not considered.
